           Case 6:14-bk-12550-SY                  Doc 526 Filed 09/16/19 Entered 09/16/19 16:54:12                                        Desc
                                                    Main Document    Page 1 of 2

  Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
  Nos., State Bar No. & Email Address


  JOHN P. PRINGLE, SBN 072300                                                                             FILED & ENTERED
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                                                                                                            CLERK U.S. BANKRUPTCY COURT
  jpringle@rpmlaw.com                                                                                       Central District of California
                                                                                                            BY potier     DEPUTY CLERK




      Debtor(s) appearing without attorney
      Chapter 7 Trustee

                                           UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA –RIVERSIDE DIVISION

  In re:                                                                      CASE NO.: 6:14-bk-12550-SY

  A.J. ACOSTA CO., INC.,                                                      CHAPTER: 7


                                                                                     ORDER ON OBJECTIONS TO CLAIMS


                                                                              DATE: September 12, 2019
                                                                              TIME: 9:30 a.m.
                                                                              COURTROOM: 302
                                                                              PLACE: 3420 Twelfth Street, Riverside, CA 92501


                                                               Debtor(s).

The Debtor or trustee having filed objections to certain claims, the court having considered the evidence and argument
presented in support and in opposition to such objections, if any, and good cause appearing, the court makes the
following ruling as to the objections to claims:

(NOTES FOR USE OF THIS FORM: List claims in ascending numerical order based upon the clerk’s claim number. Use
a separate box below for each claim. Attach as many continuation pages as are necessary.)

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           This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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       Case 6:14-bk-12550-SY                   Doc 526 Filed 09/16/19 Entered 09/16/19 16:54:12                                        Desc
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  Calendar Number: 4                         Claim Number: 6                               Claim Amount: $248,121.23

  Claimant Name: County of San Bernardino

      Disallowed           Allowed                Secured: $248,121.23                          Priority: $

  Comments: Allowed as fully secured, not entitled to a dividend



                                                                               ###




                Date: September 16, 2019




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